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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN

KATHRYN VINCENT, an
individual,

      Plaintiff,                                   Case No.
                                                   Hon.
v.

REACH HOLDINGS, LLC, a
Michigan limited liability company,

     Defendant.
__________________________________________________________________
                      NOTICE OF REMOVAL

      Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, Defendant Reach

Holdings, LLC (“Defendant” or “Reach”), through this Notice of Removal, hereby

remove this action from the Washtenaw County Circuit Court to the United States

District Court for the Eastern District of Michigan. The grounds for removal of this

action are as follows:

                     Compliance with Statutory Requirements

      1.     On October 26, 2021, Plaintiff Kathryn Vincent (“Plaintiff”)

commenced this action by filing a Complaint in the Washtenaw County Circuit

Court, styled Vincent, Kathryn, v. Reach Holdings, LLC, Case No. 2021-001167-

CD, assigned to the Honorable Patrick J. Conlin, Jr.

      2.     On November 23, 2021, Defendant received a copy of the Complaint,

and Summons (Exhibit A).
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       3.     Pursuant to 28 U.S.C. § 1446(b), Defendant filed this Notice of

Removal within 30 days of November 23, 2021, the date Defendant first received a

copy of the Complaint.

       4.     In accordance with 28 U.S.C. § 1446(a), a true and correct copy of the

Complaint filed in the Washtenaw County Circuit Court, on January 22, 2021

(Complaint, Exhibit A), together with the Summons (Exhibit B) are filed herewith.

Defendant has not served or been served with any other process, pleadings, or orders

in this action.

       5.     Pursuant to 28 U.S.C. § 1446(d), Defendant will promptly provide

written notice of removal of the action to Plaintiff and will promptly file a copy of

this Notice of Removal with the Clerk of the Washtenaw County Circuit Court.

                               Intradistrict Assignment

       6.     Plaintiff filed this case in the Washtenaw County Circuit Court.

Defendant Reach Holdings, LLC, has its principal place of business in Ann Arbor,

Michigan. According to the Complaint, Plaintiff is “a resident of the City of

Ypsilanti, County of Washtenaw, State of Michigan.” (Exhibit A, ¶ 1). Therefore,

this case may properly be removed to the United States District Court for the Eastern

District of Michigan. 28 U.S.C. § 1441(a).




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      7.        Venue in this Court is proper under 28 U.S.C. § 1391 because

Washtenaw County, Michigan, is located within the Eastern District of Michigan,

Southern Division.

                                       Jurisdiction

      8.        This Court has removal jurisdiction based on Federal Question

Jurisdiction because the sole count in the Complaint arises under the laws of the

United States pursuant to 28 U.S.C. § 1331. Count I is for “Violation of the

American With Disabilities Act of 1990 and the PWDCRA.” Plaintiff cited to both

the Americans with Disabilities Act of 1990 (“ADA,” 42 U.S.C. § 12101, et seq.)

and the Michigan Persons with Disabilities Civil Rights Act (“PWDCRA,” MCL §

37.1191, et seq.) (Exhibit A, ¶ 15, 16, 19, 20, and 23).

      9.        Plaintiff’s claim under the PWDCRA is identical to its claim under the

ADA and arises from the same common nucleus of operative facts and is so

intertwined with and related to Plaintiff’s federal claim that it forms part of the same

case or controversy as the federal claim over which this Court has original

jurisdiction.

      10.       This Court has supplemental jurisdiction over the state law claim in this

case pursuant to 28 U.S.C. § 1367(a).

      11.       Defendant’s Statement of Disclosure of Corporate Affiliations and

Financial Interest is being filed contemporaneously herewith.


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      12.    In filing this Notice of Removal, Defendant expressly reserves and does

not waive any defenses or objections to Plaintiff’s Complaint, including but not

limited to failure to state a claim upon which relief may be granted.

      WHEREFORE, for the foregoing reasons, Defendant respectfully requests

this case proceed in this Court as an action properly removed from the Washtenaw

County Circuit Court.


                                       Respectfully submitted,

                                       JOELSON ROSENBERG, PLC

                                       By:/s/ Peter W. Joelson
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                         CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing Notice of Removal along with
this Certificate of Service were electronically filed on December 13, 2021, with the
Court’s e-filing system, and served upon all parties and counsel via first class US
Mail and email to:

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                                /s/ Emily R. Warren
                                  Emily R. Warren
